                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION
                          CASE NO. 5:21-cv-0137-FL

360 VIRTUAL DRONE SERVICES                 )
LLC and MICHAEL JONES,                     )
                                           )
               Plaintiffs,                 )
                                           )
v.                                         )
                                           )
ANDREW L. RITTER, in his official          )
capacity as Executive Director of the      )
North Carolina Board of Examiners for      )      ORDER MODIFYING CASE
Engineers and Surveyors; and JOHN          )       MANAGEMENT ORDER
M. LOGSDON, JONATHAN S. CARE,              )
DENNIS K. HOYLE, RICHARD M.                )
BENTON, CARL M. ELLINGTON, JR,             )
CEDRIC D. FAIRBANKS, BRENDA L.             )
MOORE, CAROL SALLOUM, and                  )
ANDREW G. ZOUTWELLE, in their              )
official capacities as members of the      )
North Carolina Board of Examiners for      )
Engineers and Surveyors,                   )
                                           )
               Defendants.                 )

      Based upon the Joint Motion to Modify Case Management Order, it is hereby

ORDERED that the Case Management Order shall be modified as follows:

      1.      Disclosure of retained experts and reports from said experts shall be due

from Defendants by December 1, 2021; and

      2.      Disclosure of rebuttal experts shall be due by January 7, 2022.

                           3rd day of November, 2021.
      SO ORDERED, this the ____




                                        LOUISE W. FLANAGAN
                                        United States District Judge



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